
PER CURIAM.
Affirmed. See Carbajal v. State, 75 So. 3d 258 (Fla. 2011) ; State v. King, 426 So. 2d 12 (Fla. 1982) ; Hughes v. State, 22 So. 3d 132 (Fla. 2d DCA 2009) ; Shortridge v. State, 884 So. 2d 321 (Fla. 2d DCA 2004) ; Brown v. State, 827 So. 2d 1054 (Fla. 2d DCA 2002) ; Desmond v. State, 576 So. 2d 743 (Fla. 2d DCA 1991) ; Budd v. State, 477 So. 2d 52 (Fla. 2d DCA 1985) ; McMillan v. State, 832 So. 2d 946 (Fla. 5th DCA 2002) ; Hart v. State, 761 So. 2d 334 (Fla. 4th DCA 1998).
CASANUEVA, CRENSHAW, and BLACK, JJ., Concur.
